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        EXHIBIT D
                        Case 2:20-cv-12008-TGB-EAS ECF No. 83-5, PageID.2071 Filed 05/27/21 Page 2 of 8




      Communications Between the Defendants and ISpine, PLLC, Stefan Pribil, M.D., and Wesley Blake Barber


Date         From: Email                     To: Email (1)                      To: Email (2)                      To Email (3)
3/23/2019    drjenk@yahoo.com                blake.ispine@gmail.com
3/24/2019    drjenk@yahoo.com                blake.ispine@gmail.com
4/1/2019     cicelyfisher29@gmail.com        frank.ispine@gmail.com
4/3/2019     frank.ispine@gmail.com          cicelyfisher29@gmail.com
4/3/2019     frank.ispine@gmail.com          blake.ispine@gmail.com             cicelyfisher29@gmail.com
4/4/2019     drjenk@yahoo.com                blake.ispine@gmail.com
4/26/2019    drjenk@yahoo.com                frank.ispine@gmail.com
4/29/2019    drjenk@yahoo.com                frank.ispine@gmail.com
5/22/2019    drjenk@yahoo.com                blake.ispine@gmail.com
8/29/2019    frank.ispine@gmail.com          jackie.northwestclinic@gmail.com
8/30/2019    yousefalmaddrahi@gmail.com      Blake.ispine.com                   sgpribil@hotmail.com               nwneurology215@yahoo.com
9/3/2019     frank.ispine@gmail.com          nwneurology215@yahoo.com
9/9/2019     frank.ispine@gmail.com          jackie.northwestclinic@gmail.com   drjenk@yahoo.com
9/11/2019    frank.ispine@gmail.com          jackie.northwestclinic@gmail.com   drjenk@yahoo.com
9/13/2019    drjenk@yahoo.com                frank.ispine@gmail.com             jackie.northwestclinic@gmail.com
10/3/2019    drjenk@yahoo.com                frank.ispine@gmail.com
10/9/2019    frank.ispine@gmail.com          drjenk@yahoo.com                   jackie.northwestclinic@gmail.com   cicelyfisher29@gmail.com
10/10/2019   frank.ispine@gmail.com          drjenk@yahoo.com                   jackie.northwestclinic@gmail.com   cicelyfisher29@gmail.com
10/20/2019   frank.ispine@gmail.com          cicelyfisher29@gmail.com
10/24/2019   frank.ispine@gmail.com          cicelyfisher29@gmail.com           drjenk@yahoo.com                   jackie.northwestclinic@gmail.com
11/1/2019    frank.ispine@gmail.com          nwneurology215@yahoo.com           drjenk@yahoo.com                   cicelyfisher29@gmail.com
11/14/2019   frank.ispine@gmail.com          cicelyfisher29@gmail.com           drjenk@yahoo.com                   jackie.northwestclinic@gmail.com
12/2/2019    frank.ispine@gmail.com          nwnneurology@gmail.com
12/2/2019    nwnneurology@gmail.com          frank.ispine@gmail.com
12/9/2019    nwnneurology@gmail.com          frank.ispine@gmail.com
12/12/2019   frank.ispine@gmail.com          drjenk@yahoo.com                   jackie.northwestclinic@gmail.com   nwneurology215@yahoo.com
12/19/2020   drjenk@yahoo.com                frank.ispine@gmail.com             nwnneurology@gmail.com
1/6/2020     drjenk@yahoo.com                frank.ispine@gmail.com
1/17/2020    drjenk@yahoo.com                frank.ispine@gmail.com
1/22/2020    frank.ispine@gmail.com          drjenk@yahoo.com                   nwneurology215@yahoo.com           jackie.northwestclinic@gmail.com
1/23/2020    nwnneurology@gmail.com          Frank.medcord@gmail.com            frank.ispine@gmail.com
1/23/2020    frank.ispine@gmail.com          nwnneurology@gmail.com             Frank.medcord@gmail.com
2/7/2020     drjenk@yahoo.com                frank.ispine@gmail.com
2/25/2020    cicelyfisher29@gmail.com        frank.ispine@gmail.com

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                         Case 2:20-cv-12008-TGB-EAS ECF No. 83-5, PageID.2072 Filed 05/27/21 Page 3 of 8



3/18/2020    cicelyfisher29@gmail.com         frank.ispine@gmail.com
3/18/2020    frank.ispine@gmail.com           cicelyfisher29@gmail.com
3/31/2020    drjenk@yahoo.com                 frank.ispine@gmail.com     Frank.medcord@gmail.com
4/1/2020     cicelyfisher29@gmail.com         frank.ispine@gmail.com
4/1/2020     frank.ispine@gmail.com           cicelyfisher29@gmail.com
6/5/2020     cicelyfisher29@gmail.com         frank.ispine@gmail.com
6/5/2020     frank.ispine@gmail.com           cicelyfisher29@gmail.com
7/14/2020    frank.ispine@gmail.com           cicelyfisher29@gmail.com   drjenk@yahoo.com
7/20/2020    nwnneurology@gmail.com           Frank.medcord@gmail.com    frank.ispine@gmail.com
7/20/2020    frank.ispine@gmail.com           nwnneurology@gmail.com     Frank.medcord@gmail.com
8/4/2020     cicelyfisher29@gmail.com         frank.ispine@gmail.com
8/28/2020    frank.ispine@gmail.com           cicelyfisher29@gmail.com
10/23/2020   cicelyfisher29@gmail.com         frank.ispine@gmail.com




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                         Case 2:20-cv-12008-TGB-EAS ECF No. 83-5, PageID.2073 Filed 05/27/21 Page 4 of 8




                    Communications Between the Defendants and Third-Party Biller H&S Billing Company
Date         From: Email                      To: Email (1)              To: Email (2)           To Email (3)
8/23/2019    hsbilling85@yahoo.com            cicelyfisher29@gmail.com
9/25/2019    drjenk@yahoo.com                 hsbilling85@yahoo.com
10/24/2019   hsbilling85@yahoo.com            cicelyfisher29@gmail.com
11/16/2019   hsbilling85@yahoo.com            cicelyfisher29@gmail.com
12/30/2019   hsbilling85@yahoo.com            nwnneurology@gmail.com
1/7/2020     nwnneurology@gmail.com           hsbilling85@yahoo.com
1/8/2020     hsbilling85@yahoo.com            nwnneurology@gmail.com
2/6/2020     nwnneurology@gmail.com           hsbilling85@yahoo.com
2/25/2020    hsbilling85@yahoo.com            nwnneurology@gmail.com
2/25/2020    nwnneurology@gmail.com           hsbilling85@yahoo.com
2/26/2020    hsbilling85@yahoo.com            nwnneurology@gmail.com
2/28/2020    hsbilling85@yahoo.com            nwnneurology@gmail.com
3/2/2020     hsbilling85@yahoo.com            nwnneurology@gmail.com
3/2/2020     nwnneurology@gmail.com           hsbilling85@yahoo.com
3/3/2020     hsbilling85@yahoo.com            nwnneurology@gmail.com
3/10/2020    hsbilling85@yahoo.com            nwnneurology@gmail.com
3/16/2020    hsbilling85@yahoo.com            nwnneurology@gmail.com
3/17/2020    hsbilling85@yahoo.com            nwnneurology@gmail.com
3/18/2020    hsbilling85@yahoo.com            nwnneurology@gmail.com
3/24/2020    hsbilling85@yahoo.com            nwnneurology@gmail.com
4/6/2020     hsbilling85@yahoo.com            nwnneurology@gmail.com
10/26/2020   hsbilling85@yahoo.com            cicelyfisher29@gmail.com
10/27/2020   mmiller@855mikewins.com          cicelyfisher29@gmail.com   2482812112rcfax.com     hsbilling85@yahoo.com
3/10/2021    linda@miautoattorneys.com        cicelyfisher29@gmail.com   hsbilling85@yahoo.com




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                Communications Between the Defendants and Third-Party Biller Miller Medical Billing, LLC
Date         From: Email                    To: Email (1)                      To: Email (2)              To Email (3)
12/19/2019   Miller2100@hotmail.com         jackie.northwestclinic@gmail.com
1/27/2020    Miller2100@hotmail.com         jackie.northwestclinic@gmail.com   drjenk@yahoo.com
2/25/2020    nwnneurology@gmail.com         Miller2100@hotmail.com
4/17/2020    Miller2100@hotmail.com         Miller2100@hotmail.com             drjenk@yahoo.com           jackie.northwestclinic@gmail.com
5/15/2020    nwnneurology@gmail.com         Miller2100@hotmail.com
5/15/2020    Miller2100@hotmail.com         nwnneurology@gmail.com
5/22/2020    nwnneurology@gmail.com         Miller2100@hotmail.com
5/28/2020    Miller2100@hotmail.com         khinesnwn@gmail.com
5/28/2020    khinesnwn@gmail.com            Miller2100@hotmail.com
6/5/2020     nwnneurology@gmail.com         Miller2100@hotmail.com
6/8/2020     Miller2100@hotmail.com         khinesnwn@gmail.com
6/22/2020    nwnneurology@gmail.com         Miller2100@hotmail.com
7/13/2020    nwnneurology@gmail.com         Miller2100@hotmail.com             khinesnwn@gmail.com
7/17/2020    nwnneurology@gmail.com         Miller2100@hotmail.com
7/23/2020    Miller2100@hotmail.com         jackie.northwestclinic@gmail.com   drjenk@yahoo.com
7/30/2020    nwnneurology@gmail.com         Miller2100@hotmail.com
8/10/2020    nwnneurology@gmail.com         Miller2100@hotmail.com
8/11/2020    Miller2100@hotmail.com         drjenk@yahoo.com
9/18/2020    Miller2100@hotmail.com         drjenk@yahoo.com
10/5/2020    Miller2100@hotmail.com         nwnneurology@gmail.com
10/13/2020   nwnneurology@gmail.com         Miller2100@hotmail.com
10/27/2020   Miller2100@hotmail.com         drjenk@yahoo.com
12/22/2020   cicelyfisher29@gmail.com       Miller2100@hotmail.com
12/26/2020   drjenk@yahoo.com               Miller2100@hotmail.com
12/30/2020   drjenk@yahoo.com               Miller2100@hotmail.com
1/5/2021     nwnneurology@gmail.com         Miller2100@hotmail.com             cicelyfisher29@gmail.com
1/13/2021    Matt@miadvocacycenter.com      Erin@miadvocacycenter.com          cicelyfisher29@gmail.com   Miller2100@hotmail.com




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                         Case 2:20-cv-12008-TGB-EAS ECF No. 83-5, PageID.2075 Filed 05/27/21 Page 6 of 8




             Communications Between the Defendants and Third-Party Biller Edwards Medical Billing, LLC
Date         From: Email                        To: Email (1)                      To: Email (2)             To Email (3)
6/25/15      drjenk@yahoo.com                   ledwardsemb@gmail.com
6/9/2016     drjenk@yahoo.com                   ledwardsemb@gmail.com              ymkahn@sbcglobal.net
12/30/2016   drjenk@yahoo.com                   ledwardsemb@gmail.com
9/10/2019    jackie.northwestclinic@gmail.com   ledwardsemb@gmail.com
10/11/2019   ledwardsemb@gmail.com              jackie.northwestclinic@gmail.com   fredieiiemb@hotmail.com
11/22/2019   drjenk@yahoo.com                   ledwardsemb@gmail.com              fredieiiemb@hotmail.com
1/2/2020     ledwardsemb@gmail.com              nwnneurology@gmail.com
1/7/2020     nwnneurology@gmail.com             ledwardsemb@gmail.com
1/8/2020     ledwardsemb@gmail.com              nwnneurology@gmail.com             fredieii@hotmail.com
1/8/2020     nwnneurology@gmail.com             ledwardsemb@gmail.com              fredieii@hotmail.com
1/27/2020    nwnneurology@gmail.com             ledwardsemb@gmail.com
2/2/2020     nwnneurology@gmail.com             ledwardsemb@gmail.com
2/3/2020     ledwardsemb@gmail.com              nwnneurology@gmail.com
2/4/2020     nwnneurology@gmail.com             ledwardsemb@gmail.com
2/6/2020     nwnneurology@gmail.com             ledwardsemb@gmail.com




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                Communications Between the Defendants and Accountant A-MAC Accounting Services, Inc.
Date         From: Email                          To: Email (1)                      To: Email (2)                      To Email (3)
5/29/2015    drjenk@yahoo.com                     Mwebb@amacaccounting
6/24/2015    drjenk@yahoo.com                     Mwebb@amacaccounting
3/8/2016     Mwebb@amacaccounting                 cicelyfisher29@gmail.com
9/1/2016     drjenk@yahoo.com                     Mwebb@amacaccounting
2/23/2017    cicelyfisher29@gmail.com             Mwebb@amacaccounting
7/19/2017    Mwebb@amacaccounting                 drjenk@yahoo.com
11/2/2017    Mwebb@amacaccounting                 cicelyfisher29@gmail.com
2/1/2019     Mwebb@amacaccounting                 cicelyfisher29@gmail.com
2/2/2019     cicelyfisher29@gmail.com             Mwebb@amacaccounting
4/25/2019    cicelyfisher29@gmail.com             Mwebb@amacaccounting
4/25/2019    Mwebb@amacaccounting                 cicelyfisher29@gmail.com
9/16/2019    Mwebb@amacaccounting                 jackie.northwestclinic@gmail.com
9/26/2019    nwnneurology@gmail.com               Mwebb@amacaccounting
10/23/2019   nwneurology215@yahoo.com             Mwebb@amacaccounting               jackie.northwestclinic@gmail.com   drjenk@yahoo.com
10/24/2019   Mwebb@amacaccounting                 nwneurology215@yahoo.com           jackie.northwestclinic@gmail.com   drjenk@yahoo.com
11/4/2019    Mwebb@amacaccounting                 nwneurology215@yahoo.com
1/9/2020     nwnneurology@gmail.com               Mwebb@amacaccounting
2/4/2020     Mwebb@amacaccounting                 cicelyfisher29@gmail.com
2/26/2020    nwnneurology@gmail.com               Mwebb@amacaccounting
2/26/2020    Mwebb@amacaccounting                 nwnneurology@gmail.com
6/18/2020    Mwebb@amacaccounting                 drjenk@yahoo.com
8/27/2020    Mwebb@amacaccounting                 drjenk@yahoo.com
9/23/2020    drjenk@yahoo.com                     Mwebb@amacaccounting
10/23/2020   Mwebb@amacaccounting                 drjenk@yahoo.com
1/27/2021    lorraine.holt.vaag9q@statefarm.com   Mwebb@amacaccounting               jackie.northwestclinic@gmail.com




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                         Case 2:20-cv-12008-TGB-EAS ECF No. 83-5, PageID.2077 Filed 05/27/21 Page 8 of 8




              Communications Between the Defendants and Medical Software Provider Practice Fusion, Inc.
Date         From: Email                             To: Email (1)                      To: Email (2)   To Email (3)
3/1/2017     Tom.langan@practicefusion.om            cicelyfisher29@gmail.com
5/23/2017    Tom.langan@practicefusion.om            cicelyfisher29@gmail.com
11/29/2017   community@practicefusion.com            cicelyfisher29@gmail.com
12/6/2017    community@practicefusion.com            cicelyfisher29@gmail.com
12/12/2017   drjenk@yahoo.com                        jserra@practicefusion.com
5/10/2018    drjenk@yahoo.com                        help@practicefusion.com
5/21/2018    drjenk@yahoo.com                        jserra@practicefusion.com
10/10/2018   drjenk@yahoo.com                        help@practicefusion.com
12/11/2018   drjenk@yahoo.com                        jserra@practicefusion.com
12/12/2018   drjenk@yahoo.com                        jserra@practicefusion.com
12/16/2018   drjenk@yahoo.com                        jserra@practicefusion.com
8/5/2019     donotreply@practicefusion.com           cicelyfisher29@gmail.com
9/13/2019    noreply@info.email.practicefusion.com   jackie.northwestclinic@gmail.com
10/19/2019   noreply@info.email.practicefusion.com   khinesnwn@gmail.com
3/24/2020    donotreply@practicefusion.com           cicelyfisher29@gmail.com
3/26/2020    donotreply@practicefusion.com           cicelyfisher29@gmail.com
4/1/2020     donotreply@practicefusion.com           cicelyfisher29@gmail.com
4/14/2020    donotreply@practicefusion.com           cicelyfisher29@gmail.com
5/20/2020    donotreply@practicefusion.com           cicelyfisher29@gmail.com
5/21/2020    announcements@practicefusion.com        cicelyfisher29@gmail.com
6/13/2020    announcements@practicefusion.com        cicelyfisher29@gmail.com
6/18/2020    community@practicefusion.com            cicelyfisher29@gmail.com
6/26/2020    announcements@practicefusion.com        cicelyfisher29@gmail.com
8/20/2020    donotreply@practicefusion.com           cicelyfisher29@gmail.com
8/20/2020    donotreply@practicefusion.com           khinesnwn@gmail.com
10/13/2020   donotreply@practicefusion.com           jackie.northwestclinic@gmail.com
10/14/2020   ejohnson@practicefusion.com             khinesnwn@gmail.com




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